           8:04-cr-00294-LSC-FG3                    Doc # 207           Filed: 08/13/08       Page 1 of 1 - Page ID # 778


AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            8:04CR294
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 13896-047
                                                                          )
GLENN E. WAGNER                                                           )   DAVID R. STICKMAN
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgment: 5/11/2005                                      )

          Order and Judgment Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed
based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United States
Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 188 months is reduced to 151 months.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    35                                      Amended Offense Level:       33
     Criminal History Category: II                                      Criminal History Category:   II
     Previous Guideline Range: 188              to 235         months   Amended Guideline Range:     151    to 188   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
       The reduced sentence is within the amended guideline range.
        The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS
Except as provided above, all provisions of the judgment dated May 11, 2005 remain in effect. An evidentiary hearing
was held. The Court recognizes its authority to sentence outside the advisory guideline range and has considered the
factors under 18 U.S.C. § 3553(a).
IT IS SO ORDERED.

Dated this 13th day of August, 2008
Effective Date: Wednesday, August 27, 2008

                                                               s/ Laurie Smith Camp
                                                               United States District Judge
